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 6
                                 UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,                           Case No. 2:20-mj-00564-BNW

 9                  Plaintiff,                           Stipulation for an Order
                                                         Directing Probation to Prepare
10          v.                                           a Criminal History Report

11   SANTIAGO RAFAEL LOMELI-POLANCO,
       aka “Diego Francisco Flores,”
12     aka “Luis Rosales-Rios,”
       aka “Raphael Estrada Perez,”
13
            Defendant.
14

15          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

16   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

17   Attorney, counsel for the United States of America, and Kathryn C. Newman, Assistant

18   Federal Public Defender, counsel for Defendant SANTIAGO RAFAEL LOMELI-

19   POLANCO, that the Court direct the U.S. Probation Office to prepare a report detailing the

20   defendant’s criminal history.

21          This stipulation is entered into for the following reasons:

22          1.     The United States Attorney’s Office has developed an early disposition

23   program for immigration cases, authorized by the Attorney General pursuant to the

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1    PROTECT ACT of 2003, Pub. L. 108-21. Pursuant to this program, the government has

2    extended to the defendant a plea offer in which the parties would agree to jointly request an

3    expedited sentencing immediately after the defendant enters a guilty plea.

4           2.     The U.S. Probation Office cannot begin obtaining the defendant’s criminal

5    history until after the defendant enters his guilty plea unless the Court enters an order

6    directing the U.S. Probation Office to do so. Such an order is often entered in the minutes of

7    a defendant’s initial appearance when charged by indictment.

8           3.     The U.S. Probation Office informs the government that it would like to begin

9    obtaining the criminal history of defendants eligible for the early disposition program as

10   soon as possible after their initial appearance so that the Probation Office can complete the

11   Presentence Investigation Report by the time of the expected expedited sentencing.

12          4.     Accordingly, the parties request that the Court enter an order directing the

13   U.S. Probation Office to prepare a report detailing the defendant’s criminal history.

14          DATED this 16th day of July, 2020.

15                                               Respectfully submitted,

16
                                                  NICHOLAS A. TRUTANICH
17                                                United States Attorney

18    /s/ Kathryn C. Newman                       /s/ Jared L. Grimmer
      KATHRYN C. NEWMAN                           JARED L. GRIMMER
19    Assistant Federal Public Defender           Assistant United States Attorney
      Counsel for Defendant SANTIAGO
20    RAFAEL LOMELI-POLANCO

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1                            UNITED STATES DISTRICT COURT
2                                 DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                            Case No. 2:20-mj-00564-BNW

4                   Plaintiff,                            [Proposed] Order Directing Probation
                                                          to Prepare a Criminal History Report
5           v.

6    SANTIAGO RAFAEL LOMELI-POLANCO,
       aka “Diego Francisco Flores,”
7      aka “Luis Rosales-Rios,”
       aka “Raphael Estrada Perez,”
8
                   Defendant.
9

10          Based on the stipulation of counsel, good cause appearing, and the best interest of

11   justice being served:

12          IT IS HEREBY ORDERED that the U.S. Probation Office is directed to prepare a

13   report detailing the defendant’s criminal history.

14                   28th
            DATED this ___ day of July, 2020.

15

16                                               HONORABLE BRENDA N. WEKSLER
                                                 UNITED STATES MAGISTRATE JUDGE
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